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AO450 (NVD Rev. 2/18) Judgment in a Civil Case




                                  UNITED STATES DISTRICT COURT
                                                 DISTRICT OF NEVADA


MICHAEL ERWINE,
                                                             JUDGMENT
                             Plaintiff,
v.                                                           Case Number: 3:18-cv-00461-RCJ-WGC

CHURCHILL COUNTY, a political
subdivision of the State of Nevada, et al.,

                             Defendants.


         Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and
         the jury has rendered its verdict.

         Decision by Court. This action came to trial or hearing before the Court. The issues have been tried
         or heard and a decision has been rendered.

 X       Decision by Court. This action came for consideration before the Court. The issues have been
         considered and a decision has been rendered.

       IT IS ORDERED AND ADJUDGED that Defendants’ Motion for Summary Judgment (ECF No.
171) is GRANTED. Summary judgment is GRANTED in favor of Defendants for Plaintiff’s federal-law
causes of action. The pendent state-law claims are dismissed without prejudice under 28 U.S.C. § 1367(c)(3).
       IT IS FURTHER ORDERED that judgment is hereby entered accordingly and this case is closed.




                     March 9, 2022
